    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 1 of 7 PageID #:305



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

PETER PILARSKI, individually and         )                   Case No. 17-cv-08659
on behalf of similarly situated persons, )
                                         )                   Hon. Rebecca R. Pallmeyer
                       Plaintiff,        )
                                         )
                v.                       )
                                         )
RENT RECOVER OF BETTER NOI LLC,          )
later incorporated as RENT RECOVER, LLC, )
and BETTERNOI, LLC,                      )
                                         )
                       Defendants.       )

                        PLAINTIFF’S REPLY IN SUPPORT OF HIS
                         MOTION FOR CLASS CERTIFICATION

                                       INTRODUCTION

       Plaintiff Peter Pilarski, requested this Honorable Court to certify a class comprised of:

       All persons with a Michigan address who were sent a letter in the form of Exhibit A
       attached to the Complaint, as Amended, that contained, in part, a statement that ‘Your
       account will accrue interest at a rate of 7.00 percent annum’.

        Defendants oppose certifying the class proposed above, arguing only that Rule 23(b)(3),

superiority, and Rule 23(a)(2), commonality, have not been satisfied. Defendants are incorrect.

Defendants do not set forth any arguments against numerosity, Rule 23(a)(1), typicality, Rule

23(a)(3), adequacy of Plaintiff and his counsel, Rule 23(a)(4), and predominance, Rule 23(b)(3).

       Defendants’ arguments against superiority and commonality are based solely on its

disclosure raised for the first time as a factual mater in its Response that one of its landlord

clients’ leases expressly permits the charging of interest at “7.00 percent annum.” Because

identifying those persons who were sent the subject letter, and were tenants of Pavilion

Apartments Limited Partnership, which is the only form lease that Defendants have identified as

allowing the charging of interest at “7.00 percent annum”, Defendants have demonstrated that
    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 2 of 7 PageID #:306



only a ministerial review is necessary to eliminate persons who would not have a claim. Such a

ministerial review is not a barrier to class certification. Therefore because the Court can modify

the proposed class definition and certify a class that expressly excludes persons with leases from

Pavilion Apartments Limited Partnership and the requirements of Rule 23(a) and (b)(3) are not

disputed as having been satisfied, this Court should grant Plaintiff’s motion for class certification

adding the exclusion to the proposed class definition.

                                          ARGUMENT

       “[T]he obligation to define the class falls on the judge’s shoulders” who may ask the

parties’ assistance. Chapman v. First Index, Inc., 796 F.3d 783, 785 (7th Cir. 2015) (citing Fed.

R. Civ. P. 8(a); Fed. R. Civ. P. 23(c)(1); Kasalo v. Harris & Harris, Ltd., 656 F.3d 557, 563 (7th

Cir. 20011). Pursuant to Rule 23, a class definition may be modified by the Court or by the

plaintiff prior to the entry of a judgment in this matter. Fed. R. Civ. P. 23(c)(1)(C). The

proposed class definition can also be modified by the plaintiff in her or his reply. E.g. Pavone v.

Aegis Lending Corp., 2006 U.S. Dist. LEXIS 62157 * 2 n. 1 (N.D. Ill. Aug. 31, 2006).

Therefore, this Court can certify the class defined in Plaintiff’s motion, adding to the definition

the exclusion of persons who had a lease with the one landlord identified by Defendants as

having a lease that expressly permitted charging 7% interest per annum, Pavilion Apartments

Limited Partnership.

       Defendants, after a ministerial review of its clients’ leases, now come forward in their

Response and identify one Michigan landlord, Pavilion Apartments Limited Partnership’s, lease

that contains a term that permits that landlord to charge a rate of interest at 7%. (Doc. 47-1).

Defendant’s document production of sample leases was apparently strategically done placing this

one lease at the end of the document production of the sample leases. See (Group Exhibit A).




                                                 2
    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 3 of 7 PageID #:307



         Rent Recover did not identify any other landlords’ leases that contained a term the

permitted the landlord to charge interest at a rate of 7% per annum. Indeed it objected to

Plaintiff’s Interrogatory No. 9, and only produced a sampling of Rent Recover’s clients’ leases in

response to the request:

         For a time period from November 30, 2011, to November 30, 2017, please state the
         names and addresses of Defendant’s landlord clients, and for each client, state the rate of
         interest that Defendant represented to the debtor was owed on the debt that Defendant
         was attempting to collect.

         (Exhibit B, Introg. No. 9).

         Defendant further objected and would not answer Interrogatory No. 10, that specifically

asked:

         For a time period from November 30, 2011, to November 30, 2017, please state the
         names and addresses of Defendant’s landlord clients where the landlord client’s lease
         expressly stated that the rate of interest was at “7.00 percent annum” or 7% annum”.

         (Exhibit B, Introg. No. 10).

         Listed in Rent Recover’s objections to Plaintiff’s Interrogatories Nos. 9 and 10 was that

the information sought was, “not reasonably calculated to lead to the discovery of admissible

evidence”     (Id.).   Defendants should not be permitted to object that the discovery is “not

reasonably calculated to lead to the discovery of admissible evidence” then assert in opposition

to class certification, that one form lease of Pavilion Apartments Limited Partnership is now

admissible evidence, attempting to defeat class certification.

         In any event, Defendants’ ability to find one lease that contained a term that permitted the

charging of interest at 7% per annum demonstrates that the review to exclude Pavilion

Apartments Limited Partnership leases is a “ministerial review”.            Thus a modified class

definition that expressly excludes persons that had a lease with Pavilion Apartments Limited

Partnership leaves only a common question, whether under the lease or Michigan law could



                                                  3
    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 4 of 7 PageID #:308



Defendants seek seven percent interest per annum1 that will drive the resolution of this case. See

Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2551 (2011).

       The 7 percent language in the subject letter was added across the board in each letter

regardless of what the lease said because it is a form letter. (Ex. C, Toache Dep. Tr. 83:19-24).

The lease agreements of Rent Recover’s clients “were pretty standard in what they used.” (Id.

Toache Dep. Tr. 86:5-12). Defendant Rent Recover of Better NOI’s Rule 30(b)(6) witness in his

deposition had the following exchange with counsel:

       Q.       Can you name me any company that specially said that 7 percent interest can be
       included in their lease?
       A.       Yes, I believe I provided them.
                (To Ms. Strickler) Have you provided him those?
       BY MR. WARNER:
       Q.       Yeah, those are right here, and you say you can’t go through those. You can take
       some time sir, Can you go through those and find those? We can take a break.
       A.       If you have, of it’s not there, its not there.
       Q.       Your’re the witness. You’re testifying that its in there. So I’m asking - -
       A.       I believe that I read over several leases in the past that it was in there. So I had
       assumed that that was part of the law. * * *
       Q.       I’m asking about interest.
       A.       I’m telling you that I interpreted on a few leases when we made the decision to
       charge the 7 percent, there was leases such as your client’s lease that said we could
       charge the maximum amount of interest.
       Q.       That’s two different things. Let’s go with that one. So if a lease says you can
       charge the maximum amount of interest for all those leases, its based upon the language
       that is set forth in the ACA publication here that says legal rate of interest, the contract
       rate is 7 percent, correct.
       ***
       A.       I understand that we were not to exceed 7 percent.
       Q.       So whenever - - the leases that say you can charge the maximum statutory rate
       such as plaintiff’s, that language that’s in plaintiff’s lease, that allowed the charging of 7
       percent to be included?
       A.       I believed it was, yes.
       Q.       Okay. And as far as other leases, do you specifically remember seeing the
       amount of 7 percent interest can be added to that lease.
       A.       I can recall that somewhere in this stack there might be one that specifically has a
       7 percent in there, yes.

1
 Notably an extra amount added only after Rent Recover began to collect the debt. (Doc. 41-1,
PageID #:231, Toache Dep. Tr. 56:16-57:16).

                                                 4
    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 5 of 7 PageID #:309



       Q.      One, okay.
       A.      Maybe.

       (Id., Toache Dep. Tr. 81:8 - 83:18).

       Thus based on the uniform nature of leases for each landlord client, no difficulties in

conducting a ministerial review exist. This fact distinguishes this matter from the few cases cited

by Defendants.

       In Sadler v. Midland Credit Mgmt., 2008 U.S. Dist. LEXIS 51198 (N.D. Ill. July 3, 2008)

(Pallmeyer, J.), this Court stated, “[p]laintiff's proposed class is identifiable only if the

information necessary to identify those class members is available through a ‘ministerial review’

rather than ‘arduous individual inquiry.’” Id. at * 11 (quoting Ramirez v. Palisades Collection

LLC, 250 F.R.D. 366 (N.D. Ill. 2008)) (“Ramirez II”). In Sadler, the defendant produced

affidavits of a detailed investigation that was conducted of its database which demonstrated a

“failure rate of 20% [] constant across the 12,000 accounts identified” that “2,400 false positives

the search identified demonstrate that an individual evaluation of each of the 12,000 accounts

would be necessary to confirm the results of the query.” Id. at 14.        Thus based on this 20%

failure rate, this Court denied that plaintiff’s motion for class certification. This case is however

greatly distinguishable.

       Here, Defendant easily identified one person, out of the 3,207 persons who were sent the

subject form letter who had a lease with a particular landlord that expressly provided a rate of

interest of 7.00 percent annum. As such, Defendants have demonstrated only a failure rate of

.03% (three one-hundredths of a percent).     This low percentage against the backdrop that Rent

Recover of BetterNOI added the language because of the ACA publication, without regard to the

actual language of the lease between the debtor and the creditor landlord, demonstrates that the

identification of the class members is “ministerial”, and can expressly exclude those persons who



                                                 5
    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 6 of 7 PageID #:310



had a lease with Pavilion Apartments Limited Partnership. See Clavell v. Midland Funding, LLC,

2011 U.S. Dist. LEXIS 65721 * 7 (E.D. Pa. June 21, 2011) (quoting Sadler, 2008 WL 2692274,

at * 3) (noting that “[i]t is not fatal for a class definition to require some inquiry into individual

records so long as the inquiry is not ‘so daunting as to make the class definition insufficient.’”);

see also e.g. Gutierrez v. LVNV Funding, LLC, 2009 U.S. Dist. LEXIS 54479 * 35 (W.D. Tex.

Mar. 16, 2009) (finding predominance met where the court found that “Defendants need only

consult court records for a specific time frame and then determine whether an affidavit of

account was attached.”)

       Defendants cite Roman v. First Franklin Financial Corp., 2001 U.S. Dist. LEXIS 3968

(N.D. Ill. Apr. 2, 2001). In Roman, Judge Conlon made quick work in denying the motion for

class certification, finding that the plaintiff could not satisfy the first element of Rule 23(a),

numerosity. Id. at * 5-6 (“Roman offers no evidence to substantiate this theory [of numerosiy].

In fact, he does not even estimate how many loans of this type were issued by First Franklin.”).

Judge Conlon then opined that the plaintiff could not satisfy Rule 23(b)(3) because, “merely

providing TILA disclosures is not determinative of whether the loan was used for business or

consumer purposes” and cited the Federal Reserve Board’s office state commentary on

regulation Z. Id. at * 7-8. Defendants do not make such an argument here, nor could they. See

Beasley v. Blatt, 1994 U.S. Dist. LEXIS 9383 * 10 (N.D. Ill. July 8, 1994) (finding typicality was

met noting that, “[a]ll the court need do is examine the lease agreement to determine if the

automobile was leased for business or personal purposes.”) Indeed, Beasley supports Plaintiff’s

position that if there is a challenge, such as Defendants have raised here to one lease, the Court

can examine a lease and via a ministerial review, exclude a person, or category of persons, form

the proposed class definition.




                                                  6
    Case: 1:17-cv-08659 Document #: 48 Filed: 09/05/18 Page 7 of 7 PageID #:311



                                        CONCLUSION

       WHEREFORE as Defendants arguments against Rules 23(b)(3) and (a)(2) fail and

Defendants do not raise any arguments against numerosity, Rule 23(a)(1), typicality, Rule

23(a)(3), adequacy of Plaintiff and his counsel, Rule 23(a)(4), and predominance, Rule 23(b)(3),

this Court should certify Plaintiff’s proposed class adding an express exclusion of persons with

leases from Pavilion Apartments Limited Partnership.

                                      Respectfully submitted,

                                      s/ Curtis C. Warner
                                         Curtis C. Warner

Curtis C. Warner
Warner Law Firm, LLC
350 S. Northwest HWY, Ste. 300
Park Ridge, IL 60068
(847) 701-5290 (TEL)
cwarner@warner.legal


                               CERTIFICATE OF SERVICE

      I, Curtis Warner, hereby certify that on September 5, 2018, I filed electronically the

document above via the Court’s ECF system that will automatically send notice to those

attorneys who have registered and appeared:

Joseph S. Messer
Stephanie A. Strickler
Messer Strickler, Ltd.
225 W. Washington Street, Suite 575
Chicago, IL 60606
(312) 334-3465
jmesser@messerstrickler.com
sstrickler@messerstrickler.com
Attorneys for Defendant

                                      Respectfully submitted,
                                      /s/ Curtis C. Warner
                                      BY: Curtis C. Warner



                                                7
